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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA
                                                           Criminal No.I^cr(o02if
                                                           18 U.S.C. § 1349 - Conspiracy to
AREFSAID,                                                         Commit Wire Fraud
a/k/a ALEX DIAMANTI,                                       18 U.S.C. § 1343 - Wire Fraud
                                                           18 U.S.C. § 981(a)(1)(C) and
                      Defendant                            28 U.S.C. § 2461(c) - Wire Fraud
                                                           Forfeiture Allegation

                                          Indictment

       The Grand Jury charges that:

       At times material to this indictment:

       1.     The defendant, AREF SAID, was a Belgian citizen residing outside the

United States. SAID traveled to the United States, often staying in or traveling through

Massachusetts. SAID also used the name ALEX DIAMANTI.

       2.     Co-Conspirator 1 ("CC-1") was a Spanish citizen residing in Belgium. CC-1

traveled to the United States, often staying in or traveling through Massachusetts. CC-1 also

used the names Daniel Dennis Homard Hendrickx (or simply Daniel Hendrickx) and

Antoine Gerard Nourrain (or simply Antoine Nourrain).

                                   The Scheme to Defraud

       3.     Beginning no later than March 2013 and continuing until at least

February 2016, SAID and CC-1, together with others known and unknown to the grand

jury, engaged in, attempted to engage in, and conspired to engage in a scheme to defraud

law firms and non-profit institutions, including charities, using false pretenses and

fraudulent checks. In many instances, victims of the fraud were induced to send money to
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bank accounts in or around the Boston metropolitan area, where it was withdrawn by a

member of the conspiracy.

        4.    CC-1, among other things, opened bank accounts into which victims were

persuaded to transfer their money, withdrew victim money from those accounts, and

distributed that money to other members of the conspiracy. CC-1 also communicated to

SAID account details for bank accounts that CC-1 opened in various names, including false

ones.



        5.    SAID, among other things, transmitted information among members of the

conspiracy, including CC-1. Those transmittals included notifying members of the

conspiracy when, from whom, and into what accounts victim money should arrive.

               Objectives ofthe Scheme to Defraud and of the Conspiracy

        6.    One of the purposes and objectives of the scheme to defraud and of the

conspiracy was to fraudulently obtain money and property by deceiving law firms into

forwarding money to a member of the conspiracy by convincing the firms they had received

money belonging to a client, when in fact they had received a fraudulent cashier's check.

        7.    Another purpose and objective of the scheme to defraud and of the conspiracy

was to fraudulently obtain money and property by deceiving charities and other non-profit

institutions into sending money to a member of the conspiracy by convincing the

institutions they had received an erroneously large donation, when in fact they had received

a fraudulent cashier's check.

                                    Manner and Means


        8.    In general, the scheme operated using one oftwo fraudulent strategies:
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    a.    Using an alias, a member of the conspiracy contacted a law firm

          posing as a potential client-^generally a British architectural firm—

          that was purportedly seeking assistance collecting a debt from a person

          located near the law firm. Before the firm had taken substantial steps

          to collect the debt, however, it received in the mail what appeared to

          be a cashier's check from the purported debtor in the full amount of

          the debt. Thereafter, the conspirator/purported client asked the firm to

          deposit the check, retain its fee, and forward the remainder of the

          check's purported value to one or more individuals who were either

          co-conspirators or aliases for co-conspirators. In fact, the purported

          cashier's check was a forgery, as the firm learned after it had

          forwarded money to SAID or one of his co-conspirators.

    b.    Using an ahas, a member ofthe conspiracy contacted a non-profit

          organization claiming that he wished to provide a donation of a

          specified amount. Thereafter, the organization received in the mail

          what appeared to be a cashier's check from the supposed donor, but in

          excess of the promised amount. The arrival of the check was followed

          by a communication from the conspirator/supposed donor asserting

          that the extra donation had been made in error and requesting that the

          balance of the check's purported value be sent to one or more

          individuals that the donor identified. Those individuals were either co-

          conspirators or aliases for co-conspirators. In fact, the purported

          cashier's check was a forgery, and the donation never occurred.
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       9.     Over its life, the scheme targeted hundreds of law firms and non-profits,

including charities devoted to the assistance ofpeople with disabilities or mental illness;

survivors of violence and sexual assault; education of the underprivileged; and to the

protection of animals and the environment.

             Acts in Furtherance ofthe Scheme to Defraud and the Conspiracy

       10.     On various dates beginning no later than March 2013 and continuing until at

least February 2016, SAID, CC-1, and others known and unknown to the grand jury

committed the following overt acts, among others, in furtherance of the conspiracy and

scheme to defraud:


       11.     One or more conspirators sent e-mails to law firms in which the sender

purported to be an architect who was owed money by a chent local to the recipient

organization. Afterward, one or more conspirators, including CC-1, mailed fraudulent

checks to law firms that had received the e-mail sohcitations, disguising those checks as

payments firom the supposed debtors for the benefit of the purported architect, but made out

to the law firms. The recipients of such e-mails and cashier's checks included Law Firm 1 (a

law firm in Los Angeles, California), Law Firm 2 (a law firm in Ogden, Utah), Law Firm 3

(another law firm in Los Angeles, California), Law Firm 4 (a law fkm in Pace, Florida), and

Law Firm 5 (a law firm in Santa Clara, California).

       12.     One or more conspirators sent e-mails to charities and other non-profit

organizations in which the sender purported to be a potential donor. Afterward, one or

more conspirators, including CC-1, mailed fi'audulent checks to organizations that had

received the e-mail solicitations, disguising those checks as donations from the supposed

donors. The recipients of such e-mails and cashier's checks included a charity in Mercer
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Island, Washington, dedicated to providing education to disadvantaged children ("the

Charity").

       13.    One or more conspirators directed law firms, charities, and other non-profits

that had received fraudulent checks to deposit the checks and transfer a portion of the

money to bank accounts belonging to one or more members of the conspiracy, including

CC-1 and SAID, either in their own names or the names of their aliases, including but not

limited to Hendrickx, Nourrain, and DIAMANTL

       14.    After the organizations had transferred the money as directed, one or more

members of the conspiracy, including CC-1, withdrew the money from the designated bank

accounts from locations including bank branches and automatic teller machines in the

District of Massachusetts.


       15.    On or about May 28, 2014, among other occasions, SAID instructed CC-1 to

withdraw money from bank accounts controlled by CC-1 into which victim money had

been deposited.

       16.    On or about October 29, 2014, SAID asked CC-1 for an address at which

SAID could receive mail, and CC-1 provided one. On various dates beginning no later than

on or about November 4,2013 and continuing until at least February 2016, SAID and CC-1

used the address, or variations on it, to open and maintain bank accounts into which victim

money was deposited.

       17.    On or about January 10, 2016, among other occasions, SAID, CC-1, and

other members of the conspiracy, in some combination, discussed how to divide proceeds

among themselves and other co-conspirators.
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       18.      On or about various dates including but not limited to July 29, 2014,

March 16,2015, July 9, 2015, and September 18,2015, CC-1 communicated to SAID and

other conspirators account details for bank accounts that CC-1 opened in various names,

including Hendrickx and Nourrain.

       19.      On or about various dates including but not limited to March 25, 2013,

March 21,2014, November 7,2014, January 12, 2015, and January 15,2015, SAID and

CC-I opened bank accounts in their own names and in the names of abases.

       20.      In one transaction typical of the scheme, on or about January 12, 2015, as

part of the scheme, a member of the conspiracy sent an e-mail to an attorney at Law Firm 4.

The e-mail purported to come from someone caUing himself a British architect. In

subsequent exchanges with Law Firm 4, the purported architectclaimedto be owed money

for work he had performedfor a cbent in Miami, Florida. Law Firm 4 agreed to help coUect

the debt.


       21.      On or about April 24, 2015, Law Firm 4 received in the mail what appeared

to be a cashier's check for $97,588 made out to Law Firm 4, ostensibly by the supposed

Miami cbent for the benefit ofthe British architect. Unbeknownst to Law Firm 4, the check

was fraudulent.


       22.      On or about April 27, 2015, a member of the conspiracy directed Law Firm 4

to wire $92,588 to a Bank ofAmerica account in the name ofDaniel Hendrickx controUed

by CC-1. On or about the same date. Law Firm 4 transferred the money as directed, and

SAID alerted CC-1 that the money had been deposited. Between on or about April 27 and

April 28,2015, CC-1 withdrew approximately $45,200 from the Bank ofAmerica account at
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various locations in Massachusetts and wired another $40,000 from the account to the bank

account of an associate in Belgium.

       23.    In another typical example, on or about December 29, 2015, as part of the

scheme, a member of the conspiracy sent an e-mail to the Charity. The e-mail purported to

come from someone calling himself a British architect. In subsequent exchanges with the

Charity, the purported architect expressed a desire to donate $30,000 to the Charity in

honor of his mother.


       24.    On or about January 14, 2016, the Charity received in the mail what appeared

to be a cashier's check for $39,850 made out to the Charity, ostensibly from the British

architect. Unbeknownst to the Charity, the check was fraudulent.

       25.    On or about January 14, 2016, a member of the conspiracy sent the Charity

an e-mail purporting to come from the architect claiming that the cashier's check had been

issued in an erroneously high amount. According to the architect, the excess money was

needed to fulfill a pledge the architect had made to a family whose daughter was scheduled

for surgery the coming weekend. On or about January 15,2016, a conspiracy member sent

the Charity another e-mail, this one claiming that the family's daughter "ha[d] a life

threatening situation and ha[d] been hoping on funding for the past three months." In the e-

mad, the conspiracy member, again posing as the British architect, directed the Charity to

wire the excess money to a TD Bank account in the name of Daniel Hendrickx controlled

by CC-1. The Charity wired the money as directed.

       26.    On or about January 19, 2016, CC-1 withdrew $9,930 from the TD Bank

account, including through withdrawals made at automatic teller machines in Weymouth

and Quincy, Massachusetts.
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                                           Count One


                   (Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349)

         27.    The Grand Jury re-alleges and incorporates by reference paragraphs 1 through

26 of this Indictment and further charges that in or about and between March 2013 and

February 2016, in the District ofMassachusetts and elsewhere, the defendant,

                                        AREFSAID,
                                  a/k/a ALEX DIAMANTI,

together with others known and unknown to the Grand Jury, conspired with CC-1 to

commit wire fraud, in violation of 18 U.S.C. § 1343, to wit: having devised and intending to

devise a scheme and artifice to defraud and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises, to transmit and

cause to be transmitted by means of wire communication in interstate and foreign

commerce writings, signs, signals, pictures, and sounds for the purpose of executing that

scheme, namely deceiving law firms and non-profits into transferring money to one or more

bank accounts belonging to members of the conspiracy on the basis of false representations

that the money either belonged to a law firm's chent or was sent to a non-profit in error by a

donor.


         All in violation of 18 U.S.C. § 1349.
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                                     Counts Two - Eight

                              (Wire Frand - 18 U.S.C. § 1343)


          28.   The Grand Jury re-alleges and incorporates by reference paragraphs 1 through

26 of this Indictment and further charges that, on or about the dates listed below, in the

District of Massachusetts and elsewhere, the defendant,

                                       AREFSAID,
                                 a/k/a ALEX DIAMANTl,

together with others known and unknown to the Grand Jury, having devised and intending

to devise a scheme and artifice to defraud, and for obtaining money and property by means

of materially false and fraudulent pretenses, representations, and promises, did transmit and

cause to be transmitted by means of wire communications in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing the

scheme to defraud, and attempting to do so, as set forth below:

   Coimt          Date                                     Wire


      2         11/5/14      Transfer of $46,588 from an account in name of Law Firm 1 to
                            Eastem Bank account number xxxxxx3543 in the name of CC-1,
                                 together with associated notices, account updates, and
                                                   acknowledgements
      3         5/27/14    Transfer of $47,000 from a Utah lOLTA (Interest On Lawyer Trust
                           Accounts) account belonging to Law Firm 2 to a Bank of America
                             account number xxxx xxxx 2721 in the name of CC-1, together
                            with associated notices, account updates, and acknowledgements
      4         5/27/14    Transfer of $45,558 from a Utah lOLTA account belonging to Law
                                Firm 2 to an East Boston Savings Bank account number
                           xxxxxxl356 in the name of CC-1, together with associated notices,
                                        account updates, and acknowledgements
      5          1/9/15    Transfer of $97,500 from an account in the name of Law Firm 3 to
                              a Citizens Bank account number xxxxxx-368-6 in the name of
                              ALEX DIAMANTl, together with associated notices, account
                                             updates, and acknowledgements
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6           4/27/15       Transfer of$92,588 from a Florida IOTA account (Interest On
                          Trust Account) belonging to Law Firm 4 to a Bank ofAmerica
                          account number xxxx xxxx 1450 in the name of Daniel Dennis
                          Homard Hendrickx, together with associated notices, account
                                         updates, and acknowledgements
7           2/1/16      Transfer of $97,035 from an account in the name of Law Firm 5 to
                          a Citizens Bank account number xxxxxx-933-5 in the name of
                           Antoine Gerard Nourrain, together with associated notices,
                                     account updates, and acknowledgements
8           1/15/16     Transfer of $9,850 from an account in the name of the Charity to a
                          TD Bank account number xxx-xxx9567 in the name of Daniel
                        Hendrickx, together with associated notices, account updates, and
                                                acknowledgements.



    All in violation of Titie 18, United States Code, Sections 1343 and 2.




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                             Wire Fraud Forfeiture Allegation

                    (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))


       29.    Upon conviction of one or more of the offense in violation of Title 18, United

States Code, Sections 1349 and 1343, set forth in Counts One through Eight of this

Indictment, the defendant,

                                        AREFSAID,
                                 a/k/a ALEX DIAMANTI


shall forfeit to the United States, pursuant to Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the offense.

       30.    If any of the property described in Paragraph 30, above, as being forfeitable

pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States

Code, Section 2461(c), as a result of any act or omission of the defendant -

              (a)     cannot be located upon the exercise of due diligence;

              (b)     has been transferred or sold to, or deposited with, a third party;

              (c)     has been placed beyond the jurisdiction of the Court;

              (d)     has been substantially diminished in value; or

              (e)     has been commingled with other property which carmot be divided
                      without difficulty;

it is the intention of the United States, pursuant to Title 28, United States Code, Section

2461(c), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any

other property of the defendant up to the value of the property described in Paragraph 30

above. All pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Tide 28, United

States Code, Section 2461(c).

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A TRUE BILL,




FOREPERSON OF THEt3RAND JURY




                                          BRIAN PERE/-DAP]
                                          Assistant U.S. Attorney


DISTRICT OF MASSACHUSETTS, February 1,2017




Returned into the District Court by the Grand Jury Foreperson and filed.



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